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R E C E l V E D UNITED STATES DISTRICT COURT

APR 2 _4 i€l‘ ®A/ WESTERN DISTRICT oF LoUIsiANA

TONY R. MOOHE, CLERK

WESTEHN msmlcr oF LoulsxANA LAFAYETTE DlVlSlON
LAFAYETTr-;, Lou\s\ANA

IN THE MATTER OF LARRY CIVIL ACTION NO. ll-lSlO
DO[RON, INC. AS OWNER AND
OPERATOR OF THE BARGE POGO JUDGE DOHERTY
and THE M/V BILLY JOE
MAGISTRATE JUDGE HILL
MEM()RANDUM RULING

 

Currently pending before the Court are: (l) a motion for summary judgment filed by
Complainant-in-Limitation/Third~Party Plaintiff Larry Doiron, lnc. and Intervenor Robert Jackson
(collectively referred to as “LDI”) [Doc. 58]; and (2) a motion for summary judgment filed by Third-
Party Defendants Specialty Rental Tools & Supply, L.L.C., Oil States Energy Services, L.L.C. and
Zurich American Insurance Company (collectively referred to as “STS”) [Doc. 63]. By Way of their
motion, LDI and l\/lr. Jackson seek a judgment “to enforce their contractual right to defense and
indemnity,” arguing “the Master Service Contract that is the subject of this motion obligates
Specialty Rental Tools & Supply§ LLP, and its successor, Oil States Energy Services, L.L.C., to
defend, indemnify and hold harmless LDI and Jacl<son from and against the claims asserted by all
claimants in the present litigation and to reimburse LDI and Jackson for all attorney’ s fees and costs
incurred by LDI and Jackson to date.” [Doc. 58, p.l] By Way of its cross-motion, STS seeks a
judgment dismissing the claims of LDI and Jackson, arguing “the Master Service Contract at issue
must be construed under Louisiana laW,” and therefore “the indemnity provision contained therein

is void and unenforceable under the Louisiana Oilfield lndemnity Act.” [Doc. 63, p.l]

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I. Background

On August 19, 201 1, Larry Doiron, lnc. filed a complaint for “eXoneration nom or limitation
of liability.” [Doc. 1] On September 30, 2011, Peter Savoie filed a claim for injuries against LDI.
[Doc. 6] Mr. Savoie asserts he Was injured on February 25, 2011, While Working on a fixed
production platform owned by Apache Corporation and located on navigable Waters in West Lake
Verret in the Afachalaya Basin. [Doc. 6, pp. 10-11] Mr. Savoie Was employed by STS as a Field
Supervisor III. Apache hired STS to perform a “floW bacl<” jobl on its platforrn.

On February 24, 2011, STS sent two of its employees (Mr. Savoie and Mathew
Delahoussaye) to perform flow back services on Apache’s production platform. The flow back
attempt on that day Was unsuccessful. Mr. Savoie advised Brandon LePretre (Apache’s Cornpany
Man) “that the flow back efforts on the Well had been unsuccessful and they needed larger
equipment, including a three inch flow back iron, a hydraulic choke manifold and a hydraulic gate
valve to proceed With the flow back job.” [Doc. 58-1, p.4] Mr. Savoie additionally advised l\/lr.
LePretre that “a crane barge Was needed to proceed With the flow back job.”2 [ld. at 4-5] Mr.
LePetre testified Mr. Savoie advised him a crane barge Was necessary, because the new equipment
they Were bringing out to perform the flow back services Was too heavy for the Workers to remove
from the Wellhe'ad.3 [Doc. 5 8-8, pp. 25-26, 32-33] Thereafter, Mr. LePretre contacted VAS Gauging,

Inc. (an Apache contractor) and arranged for VAS to provide a crane barge to assist STS in the flow

 

1According to the parties, a “floW back” job is an operation designed to clean up a Well and
increase production.

2According to STS, “The only equipment that STS brought on location for the flow back services
that [frrst] day Was a dual choke, a.rnanifold and some flow iron (pipe).” [Doc. 63 -2, p.6]

3According to LDL the hydraulic valve Weighed approximately 500 pounds. [Doc. 58-1, p.2]

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back job. VAS then contacted LDI and had LDl provide the crane barge POGO4 for use at Apache’ s
platfomr. The POGO was on location on the second day of the job. Mr. LePretre testified he was
aware VAS intended to obtain a crane barge nom LDI, and that the crane barge was at the worksite
with the consent of Apache. [Doc. 58-8, pp. 31-32]

Despite the use of larger equipment on the second day, the flow back operations were still
unsuccessful, and Mr. Savoie advised Mr. LePretre a coiled tubing unit would be necessary. The
flow back job was then terminated, and Mr. Savoie and Mr. Delahoussaye began to disassemble and
remove the flow back equipment According to Mr. Savoie’s testimony, after disconnecting some
of the bolts that were holding the gate valve in place on the well head, he directed LDl’s crane
operator, Robert Jackson, to use the crane to place a “bind” on the gate valve so that he could remove
the last bolt. Mr. Savoie had trouble removing the gate valve, but it eventually “popped out.” [Doc.
69-2, p.139] When it finally popped out, “it canted even more, causing [the] chicksan to swing into
the grease Zerk where it was lodged.” [Id.] Mr. Savoie then gave the crane operator the “all stop”
signal. [ld. at 139; See also Doc. 69, p.7] Mr. Savoie then removed the chiksan from the grease zerk
with his right hand and gave the crane operator the signal to boom down. [Doc. 169-2, p.' 143]
According to Mr. Savoie, rather than booming down, “All of a sudden the load come [sic] toward
me very fast. When it did that, it knocked me off balance, l was going back, so l grabbed the
chicksan [sic] to hold on. At that point, it’s either, you know, fall backwards and break my neck or
hold on for life.” [Id. at 143-44] Mr. Savoie testified as he held the chiksan, the crane operator
continued to boom up. “Then when 1 tell him to stop - - He wanted to put me down on the platform.

1 said, ‘No, put me down on the barge.’ So he started to come down. lt just took him a long time

 

4The POGO is a self-propelled construction barge owned and operated by LDI. [Doc. 1, p.l]

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to get me down. l couldn’t hold on anymore. l slipped and was kind of grabbing for a grasp and I
q fell.” [Id. at 144] l\/lr. Savoie asserts he fell approximately eight feet, onto the deck of the POGO,
resulting in “a crush type injury to the right lower extremity.”5 [Doc. 6, pp. 11, 14] j

On August 1 6, 2012, LDl made formal demand upon STS to defend, indemnify and hold LDI
harmless against the claims asserted against LDI by Mr. Savoie. On September 24, 2012, STS‘
rejected LDI’s demand. LDI and STS have now filed the pending motions for summary judgrnent,
thus necessitating this Court’s interpretation of the nature of the Apache Master Service Contract,
and potentially the scope of the defense and indemnity provision at issue therein.

All parties agree, at the time of Mr. Savoie’s accident, STS was engaged by Apache to
perform a flow back job at Apache’s production platform, pursuant to a Master Service Contract,
executed on October 12, 2005. [Docs. 58-2, 11 3; 63-7, 11 3] The MSC requires STS to defend and
indemnify Apache, as well as Apache’s contractors, subcontractors and invitees, from claims
asserted by STS employees for bodily injury arising out of the work. Specifically, the contract
provides as follows:

Contractor hereby agrees to defend, release, indernnify, and hold harmless Cornpany

 

5More specifically, plaintiff alleges the incident caused:

(1) an avulsion fracture of the distal lateral femoral condyle in the area of the fibular
collateral ligament, (2) a comminuted fracture of the proximal diaphysis of the fibula,
with displaced bony fragments, (3) crush type fractures of the rnedial and lateral tibial
plateaus, with displaced bony fragments, and (4) severe edema of the right knee, along
its anterior and posterior aspect, together with fluid within the supra patellar bursa sac; it
was further determined that he also suffered injury to his lower back, with concomitant
low back pain and left lower extremity pain.

[Doc. 6, p.14]

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Group€, from all losses, costs, expenses, and causes of action (including attorney’s
fees and court costs) for loss or for damage to property and for injuries to persons
and death arising out of, incident to, or in connection with, the work or any and all
operation under this contract and which are asserted by or arise in favor of contractor,
its parent, subsidiary and affiliated companies, and their officers, directors,
employees[,] in-house legal counsel, agents representatives [sic], invitees, co-lessees,
co-owners, partners, joint venturers, contractors and subcontractors . . ., whether or
not such losses, costs, expenses, injuries, death, or causes of action are caused or
contributed to by the negligence, omission, strict liability, or conractual [sic] liability,
or fault of any member of company group and whether or not caused by a pre-
existing condition

[Doc. 58-3, p.1 (capitalization omitted)]
II. Analysis

By way of its motion, LDI argues the MSC is a maritime contract, because: the flow back job
could not have been completed without the use of the POGO’ s crane, thus making the crane barge’ s
role in the flow back operation an integral and necessary element of the operation; and, at the time
of plaintiff s accident, the crew was utilizing the POGO’ s crane to lift the hydraulic valve and move
it from Apache’s platform to the equipment barge. Contrarily, STS argues the MSC is not a maritime

contract, because: the MSC did not call for or require the use of a vessel7; the crane was required

 

6The MSA defines “Company Group” as follows: “As used herein, the term ‘Company Group’
shall mean each of Company, its parent, subsidiary and affiliated companies, and their officers,
subcontractors (other than Contractor), and each of their respective successors, spouses, relatives,
dependents, heirs and estates.” [Doc. 5 8-3, p.l]

7Of note, STS does not explain how the equipment required to perform the flow back operations
could have been utilized without the use of the crane barge POGO. Furthermore, the Fifth Circuit has
found contracts which did not require the use of vessels for their execution to be maritime contracts,
where a vessel ultimately became necessary in order to complete the work. See e.g. Hoda v. Rowan
Companz`es, Inc., 419 F.3d 379, 381 (Sth Cir. 2005); Devon Louisiana Corp. v. Petra Consultants, Inc.,
247 Fed.Appx. 539, *5 (5th Cir. 2007). The Court additionally notes, “‘Even a contract for offshore
drilling services that does not mention any vessel is maritime if its execution requires the use of a
vessel.’” Hoda at 383 (quoting Demette v. Falcon Drz`llz'ng C0., Inc., 280 F.3d 492, 500-501 (5th Cir.
2002)). While it is true the MSC makes no explicit reference to a vessel, it does contain a choice of law
provision which provides: “This contract shall be construed and enforced in accordance with the general
maritime law of the United States whenever any performance is contemplated in, on or above navigable

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only for “rigging up” and “rigging down,” and not for the actual flow back servicess; the crane barge
was not permitted to be on location during the actual flow back'operations, and thus, the flow back
operations were conducted without the use of a vesselg; plaintist alleged injuries occurred after the
flow back operation was completed, during the rigging down processl°; STS had “nothing to do”
with the selection of Ll)l and had no obligation to charter a crane barge under the MSC] ]; plaintiff
was not assigned to any vessel and never operated the crane; and finally, aside from rigging up and
rigging down, all flow back operations were conducted either on the platform, or the adjacent
equipment barge.

To determine whether a contract is a maritime or non-maritime contract, a court must first
undertake an examination of the “historical treatment in the jurisprudence” of the type of work at
issue - in this case, flow back services. Where, as here, the historical treatment is not sufficiently

established, the Court should then engage in a “fact-specific inquiry” by applying the six factor test

 

waters, whether onshore or offshore. ln the event that maritimelaw is held inapplicable, the law of the
state in which the work is performed shall apply.” [Doc. 58-3, p.2 (capitaliz.ation omitted)] Additionally,
the contract requires STS to obtain certain types of marine insurance, “if contractor uses any vessels in
connection with its work for company. . . .” [ld. at p.4 (capitalization omitted)]

8l\/lore specifically, STS argues the crane “was needed for lifting a hydraulic gate valve onto the
wellhead before flow back services began and for removing the valve once the flowback services were
complete Lifting equipment on and off a wellhead is referred to [sic] ‘rigging up’ and ‘rigging doWn.’
Mr. Delahoussaye testified that rigging up is not part of flow back services.” [Doc. 63-2, p.6]

9The Court notes the testimony cited in support of this statement is that neither the tug nor the
crane barge could be near the platform during flow back operations, because the crew was concerned
about “ignition sources” in light of the fact they would be “flowing back gas.” [Doc. 63~3, p. 36]

'IOSTS concedes the POGO’s crane was involved in plaintist accident, as the crew was in the
process of rigging down at that time, but asserts this use of the crane “was only incidental to the principal
work being performed ~ the flow back services.” [Doc. 63-2, p.lO]

1]This is a distinction without a legal difference, as the MSC requires STS to defend and
indemnify Apache ’s subcontractors and invitees - not STS’s subcontractors and invitees.

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set forth in Davis and Sons, Inc. v. GulfOil Corp., 919 F.2d 313, 316 (5th Cir. 1990); See also Hoa’a
v. Rowan Companies, lnc., 419 F.3d 379, 381 (5th Cir. 2005). The six factors are:

l) what does the specific work order in effect at the time of injury provide? 2) what

work did the crew assigned under the work order actually do? 3) was the crew

assigned to work aboard a vessel in navigable waters? 4) to what extent did the work

being done relate to the mission of that vessel? 5) what was the principal work of the

injured worker? and 6) what work was the injured worker actually doing at the time

of injury?
Davis at 316; see also Hoala, 419 F.3d at 381 (Sth Cir. 2005).

A. Historical Treatment

As stated above, the Court’s first task is to investigate the historical treatment of the type of
work at issue Here, all parties agree Apache retained STS to perform flow back services on
Apache’ s well located on a platform, in order to increase the well’ s productivity Neither this Court,
nor the parties, have found any jurisprudence addressing the historical treatment of flow back
services, or whether contracts for such services, when performed on a platform in navigable waters
but with the use of a crane located orr a vessel, constitute maritime contracts Accordingly, this
factor is inconclusive Nevertheless, it appears self-evident that flow back services have little to do
with traditional maritime activity or commerce, but rather, are services peculiar to the oil and gas _
industry, whether those services are conducted on or offshore

ln Devon Louz'sz'ana Corporation v. Petra Consultants,. Inc., the Fifth Circuit undertook an
examination of whether a contract to repair a fixed platform was a maritime contract. 247 Fed.Appx.
539 (Sth Cir. 2007). Because the Court had not previously considered that question, it found the first

prong of the Davis analysis (z'. e. an examination of the “historical treatment”) to be “inconclusive.”

Icl. at 544; see also Hoala at 381 (“in some circumstances, though not here, the historical treatment

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is clear enough to make the second part of the test ‘unimportant.”’). In conducting its analysis, the
Devon Court provided the following overview of the pertinent jurisprudence:

We . . . held in Domingae . . . , that where a contract is only incidentally

b related to a vessel’s rnission, it is not maritime Domz`ngue involved a contract for

wireline services on an offshore well. The work order required the crew to use a

jack-up drilling rig. Although a jack-up rig has been classified as a vessel for

maritime law purposes, in Domingue the use of a vessel Was purely incidental to

the execution of the contract, and nothing about the contract required that the
contractor use a vessel instead of a mere Work platform.

ln contrast, the work in Camp_bell v. Sonat O]jfshore Drz`llz'ng, Inc., 979 F.2d
11 15, 1123 (5th Cir.1992), required the use of a vessel as such. Campbell involved
casing work that required the use of a vessel such as a jack-up rig, along With its
derrick and draw works, because there Was no fixed platform or derrick at the
Work site. Similarly, in Davis we noted that the “particular nature of the terrain and
production equipment required” the use of a vessel. Davz's involved a work crew that
traveled from one offshore job site to another and made various repairs to the
offshore facilities and thus required a vessel “that could function as a mobile work
platforrn.”12

ln Hoa’a, . . . we addressed an analogous situation in which the crew’s “exact
work did not require the use of [a] vessel,” but the Work “could not be performed
Without the [vessel’s] direct involvement.” Hoda involved the torquing up and
down of the bolts on blowout preventer stacks, a task that by itself did not
require the use of the vessel or its crew but that Would have been irrelevant and
impossible if the vessel’s crew had not used the vessel’s rig to set the stacks and
bolts in place.

Dei)o)r at‘544-45 (citations and footnotes omitted)(emphasis added).
The Devon court ultimately determined the contract before it was a maritime contract,
b reasoning:
Although the “exact Work” on the punch list did not require the use of a vessel
per se, the failure of the parties to obtain a hot work permit meant that the welding

work, which was a prerequisite for completing some of the tasks on the punch list,
had to be completed on a vessel, not the fixed platform. . . . The contract here

 

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1"See also Davzs at 317 (mrssron of “mobrle rnarntenance vessel” was “rnextr'rcably rntertwrned
with maritime activities”’).

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required that the parties provide a vessel per se, because only a vessel working
alongside the already existing fixed platform could provide a suitable place to
perform the hot Work. As was the case in Davz's, Campl)ell, and Hocla, the instant
contract required that a vessel be provided.

lt is undisputed that the hot work could have been completed on the oil and
gas platform if the appropriate permit had been obtained The inability to perform the
hot work on the vessel was not caused by any physical or technical limitations but by
the legal limitations resulting from the absence of a permit. That is, however, a
distinction without a legal difference Hocla, Davz's7 and Campbell do not require that
the need for a vessel be caused by physical or technical limitations There is no
practical difference between having to use a vessel because of physical realities
and having to use one because of legal restrictions. A vessel is required in both
situations

The jurisprudence therefore indicates that where the use of a vessel as

such is required for completion of the contract, maritime law appropriately
governs.

Id. at 545 (emphasis added).

B. Davis Factors

As noted, after examining the historical treatment in the jurisprudence, the court is to apply
the six factor test set forth in Davis and Sons.

1. ' What does the specific work order in effect at the time of injury
provide?

According-to counsel`for STS, “STS was not performing under a specific work order on the
day of Mr. Savoie’s alleged injury.”13 [Doc. 63-2, p.lO] However, all parties agree that Apache

hired STS to perform flow back services on its well. As is commonplace in the oil and gas industry,

 

]3The only support counsel for STS has provided for this statement is the deposition testimony of
Mr. Delahoussaye, the STS employee working under Mr. Savoie on the day of the accident Counsel has
not shown Mr. Delahoussaye is the proper person to testify as to such matters, such that this Court can
indeed conclude there were no specific work orders (written or verbal) for the flow back job on the day
in question. Presumably there exists, at the very least, a verbal work order, or STS would have no reason
to be on Apache’s platform.

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the MSC does not describe the work to be performed by the agreement, as it is simply a broadform
blanket agreement which contemplates future specific work orders covering the specific work to be
done14 Domz'ngue v. Ocean Drillingaml Exploration Co., 923 F.2d 393, 394 (5th Cir. 1991).
j v2. What work did the crew assigned under the Work order actually do?
_All parties to this motion agree STS was performing flow back services on Apache’s well
on a fixed platfolrlnj in order to clean out the well and make it more productive According to LDI,
such work included: selecting the equipment necessary for the job, off loading the equipment from
the barge, attaching a sling to the hydraulic valve, assembling the equipment on the well head,
stabbing the hydraulic valve, turning on the pump and monitoring the fluids, serving as the signal
man for the crane operator, disassembling the equipment and loading it back onto the barge, and
conducting safety meetings (which included the crew of the crane barge). [l)ocs. 69, p.12; 69-2,
pp.83, 85; 103]
3. Was the crew assigned to work aboard a vessel in navigable waters?
7 The STS crew was not assigned to work aboard a vessel in navigable waters. [Doc. 63-1, no.
345 LR 56.2] However, all parties appear to agree that STS employees performed some of their work

h‘om an equipment barge15

 

14As stated in the MSC:

a) Company may, from time to time, request Contractor to perform work or render
services hereunder (“Work”) including but not limited to the following types of
services: Chemicals, Equipment Rental.

b) Upon acceptance of a job order or other request to perform work f . . .
[Doc. 58-3, p.l, 1[ 2]

15According to STS, “the barge was used for deck space for the flow back equipment.” [Doc. 63-
2, p.4] STS implies the equipment barge was used merely as a work platform. [Doc. 71-1, p.4 (“[T]his

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4. To what extent did the work being done relate to the mission of that
vessel?

According to STS, the flow back services did not relate to the mission of any vessel.
According to LDI, “The POGO’s mission was to provide the crane services needed by the STS crew
to complete the flow back job.” [Doc. 69, p.l 1] LDI further asserts Mr. Savoie'was in charge of
“when, where and how the STS crew used the crane in connection with the flow back j ob. . . .” [Id.]

5. What was the principal work of the injured worker?

Mr. Savoie’s principal work was to provide flow back services to Apache’s well.

6. What work was the injured Worker actually doing at the time of injury?

At the time of his injury, Mr. Savoie was in the process of disconnecting the hydraulic gate
valve, so that it could be lifted and loaded onto the equipment barge and taken back to STS.

C. Finding as to nature of the contract

While it is, decidedly, a close question, the Court concludes, after a review of the historical
treatment, applicable jurisprudence, and evidence submitted, that the contract between Apache and
STS is a maritimecontract. The job for which STS was retained - flow back services - as a practical
matter was proven to be one that could not have been completed without the use of a crane barge,
as evidenced by the earlier unsuccessful attempts As there was no crane on the platform with which
to place the hydraulic valve onto the well head and remove it thereii'om after completion of the work

and as the vessel was ordered after unsuccessful attempts to perform the task, the vessel was

 

Court has held, and LDI states in its opposition, that a contract is not necessarily, not maritime when a
vessel is being used only as a mere work platform.”] According to LDI, “Throughout the process of
preparing for the flow back job, the STS employees were regularly aboard the equipment barge and also
used that barge for their safety meetings lrrespective of the degree of their connection with the crane
barge [POGO], their cormection to the equipment barge was far more than an [sic] incidental.” [Doc. 69,
p. 12]

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necessary in order to perform the task at hand. As in Hoclaj while STS ’ s “exact work did not require
the use of the vessel, her personnel or equiprnent,” STS would have had nothing to do had LDI
personnel not used the POGO’s equipment to set the hydraulic gate valve in place Hoa'a at 381
(“Greene’ s exact work did not require the use of the vessel, her personnel or equipment, but Greene ’ s
would have had nothing to do had Rowan personnel not used the rig’ s equipment to set the blow-out
preventers in place, align them, place the bolts on them, and place the nuts on the bolts for tightening
(or performed the same functions in reverse order.”); see also Devon at *5 (although the work did
not require a vessel per se, and could have been completed on the platform had the appropriate work
permits been obtained, the failure to obtain a hot work permit meant the welding work had to be
completed on a vessel, thus rendering the contract a maritime contraet). Here, the work was
attempted without the involvement of the vessel and was unsuccessful without the vessel.
Accordingly, the Court finds, as did Hoda, STS’s services were “inextricably intertwined” with the
successful attempt at completion of the activity on the POGO, and all were dependent on LDl’s
placement of STS’s equipment on which STS’s employees worked, and could not be performed
without the POGO’s direct involvernent. Hocla at 383 (“Greene’s services were ‘inextricably
intertwined’ with the activity on the rig, were dependent on Rowan’s placement of the equipment
on which Greene’s employees worked, and could not be performed without the rig’s direct
involvement.”)

Finally, to the extent STS argues LDI was neither an invitee nor a subcontractor of Apache,

such that the indemnity provision would be inapplicable, STS has failed to carry its burden, both in

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law and in fact.'16
III. b Conclusion

ln light of foregoing, the motion for summary judgment [Doc. 58] submitted by LDI and
Robert Jackson is hereby GRANTED. Accordingly, STS must defend, indemnify and hold harmless
LDI and Jackson from and against the claims asserted by Peter Savoie in the present litigation, and
STS must reimburse LDI and Jackson for all attorney’s fees and costs incurred by LDI and Jackson

in connection therewith to date The motion for summary judgment [Doc. 63] submitted by STS is

DENIED.

    

a, this ,,2 jj day of April,

THUS DONE AND SIGNED in Chambe '

   

afayette, Louisr

      
  

2013.

 

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v

REBEC ¢.` A FN DOHERTY
UNITE li STATES DISTRICT JUDGE

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16The entirety of STS’s argument on this isst e is as follows:

LDI was engaged to provide its services by VAS, not Apache. Therefore, there
was no contractual privity between LDI and VAS. As such, LDI cannot be an invitee of
Apache Further, the corporate representative of LDI testified that LDI was acting as
VAS’ subcontractor, not Apache’s. Therefore, STS would not owe LDl and Mr. Jackson
defense and indemnity even if the general maritime law is held to apply to the MSC.

[Doc. 63-2, p.13] Clearly, LDI was the invitee of Apache, and LDI was at the worksite with Apache’s

consent. See Doc. 58-8, pp. 31-32; Blanks v. Murco Drillz'ng Corp., 766 F.2d 891, 894 (5“‘ Cir. 1985).
Accordingly, LDI falls within the protections of the indemnity provision of the MSC.

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